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                                                           United States Courts Southern
                                                                  District of Texas
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                                                           EĂƚŚĂŶKĐŚƐŶĞƌ, Clerk of Court



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